Case 3:19-cv-00001 Document 22-29 Filed on 03/29/19 in TXSD Page 1 of 12



                    UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                        GALVESTON DIVISION

KERI WOMACK, individually, on  §
behalf of all wrongful death   §
beneficiaries, and as the heir and
                               §
representative of the Estate of§
SAWYER LETCHER                 §
                               §
                    Plaintiff  §
                               §
v.                             §                Civil Action No.
                               §                3:19-cv-000001
UNIVERSITY OF TEXAS            §
MEDICAL BRANCH and TEXAS       §
DEPARTMENT OF CRIMINAL         §
JUSTICE                        §
                               §
                    Defendants §

              PLAINTIFF’S RESPONSE TO DEFENDANTS’
                  MOTION TO TRANSFER VENUE

                               Exhibit 27

  Excerpts from Dr. Lannette Linthicum, M.D.’s
                   Deposition
    Case 3:19-cv-00001 Document 22-29 Filed on 03/29/19 in TXSD Page 2 of 12
                                                                                                1
                       Lannette Linthicum - 1/13/2016

·   · · · · · · ··IN THE UNITED STATES DISTRICT COURT
·   · · · · · · ··FOR THE SOUTHERN DISTRICT OF TEXAS
·   · · · · · · · · · · · ·HOUSTON DIVISION
·   ·
·   ·STEPHEN McCOLLUM and SANDRA· ··)
·   ·McCOLLUM, individually, and· ··)
·   ·STEPHANIE KINGREY,· · · · · · ·)
·   ·individually and independent· ·)
·   ·administrator of the Estate· ··)
·   ·of LARRY GENE McCOLLUM· · · · ·)
·   · · · · · · · · · ·PLAINTIFFS· ·)· · ··CIVIL ACTION NO.
·   · · · · · · · · · · · · · · · ··)· · · · ·4:14-cv-3253
·   ·v.· · · · · · · · · · · · · · ·)· · · · ·JURY DEMAND
·   · · · · · · · · · · · · · · · ··)
·   · · · · · · · · · · · · · · · ··)
·   ·LANNETTE LINTHICUM, JEFF· · · ·)
·   ·PRINGLE, RICHARD CLARK,· · · ··)
·   ·KAREN TATE, SANDREA SANDERS,· ·)
·   ·ROBERT FASON, the UNIVERSITY· ·)
·   ·OF TEXAS MEDICAL BRANCH and· ··)
·   ·the TEXAS DEPARTMENT OF· · · ··)
·   ·CRIMINAL JUSTICE· · · · · · · ·)
·   · · · · · · · · · ·DEFENDANTS· ·)
·   ·____________________________· ·)··__________________________
·   ·KEITH COLE, JACKIE BRANNUM,· ··)
·   ·RICHARD KING, DEAN ANTHONY· · ·)
·   ·MOJICA, RAY WILSON, FRED· · · ·)
·   ·WALLACE, and MARVIN RAY· · · ··)
·   ·YATES, individually and on· · ·)
·   ·behalf of those similarly· · ··)
·   ·situated,· · · · · · · · · · ··)
·   · · · · · · · · · · · · · · · ··)· · · ·CIVIL ACTION NO.
·   · · · · · · · ··Plaintiffs,· · ·)· · · · ·4:14-cv-1698
·   · · · · · · · · · · · · · · · ··)
·   ·v.· · · · · · · · · · · · · · ·)
·   · · · · · · · · · · · · · · · ··)
·   ·LANNETTE LINTHICUM, in his· · ·)
·   ·official capacity, ROBERTO· · ·)
·   ·HERRERA, in his official· · · ·)
·   ·capacity, and TEXAS· · · · · ··)
·   ·DEPARTMENT OF CRIMINAL· · · · ·)
·   ·JUSTICE,· · · · · · · · · · · ·)
·   · · · · · · · ··Defendants.· · ·)
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                          Lannette Linthicum - 1/13/2016

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   · · · · · · · · · · · ··REPORTER'S CERTIFICATION
 ·7· · · · · · · · ··DEPOSITION OF LANNETTE LINTHICUM
   · · · · · · · · · · · · · ··January 13, 2016
 ·8· · · · · · · · · · · · · · ··VOLUME 1
   · ··
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14· · · · · · ··ORAL AND VIDEOTAPED DEPOSITION OF LANNETTE
   · ··
15· ·LINTHICUM, produced as a witness at the instance of the
   · ··
16· ·Plaintiffs, and duly sworn, was taken in the above-styled and
   · ··
17· ·numbered cause on the 13th day of January, 2016, from 9:18 a.m.
   · ··
18· ·to 3:59 p.m., before Abigail Guerra, CSR, in and for the State
   · ··
19· ·of Texas, reported by machine shorthand, before Honorable Keith
   · ··
20· ·Ellison, at the United States District Courthouse, 515 Rusk,
   · ··
21· ·Houston, Texas, pursuant to the Federal Rules of Civil
   · ··
22· ·Procedure and the provisions stated on the record or attached
   · ··
23· ·hereto.
   · ··
24· ·
   · ··
25· ·

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                          Lannette Linthicum - 1/13/2016

 ·1· · · · · · · · · · · ··A P P E A R A N C E S
   · ··
 ·2· ·
   · · ·FOR THE PLAINTIFF:
 ·3· · · ··STEPHEN McCOLLUM and SANDRA McCOLLUM, individually, and
   · · ·STEPHANIE KINGREY, individually and independent administrator
 ·4· ·of the Estate of LARRY GENE McCOLLUM
   · ··
 ·5· ·Mr. Jeff Edwards
   · · ·Mr. Scott Medlock
 ·6· ·EDWARDS LAW
   · · ·1101 East 11th Street
 ·7· ·Austin, Texas 78702
   · · ·Phone:··(512) 623-7727
 ·8· ·
   · · · · ··- and -
 ·9· ·
   · · ·Mr. Michael Singley
10· ·Mr. David James
   · · ·THE SINGLEY LAW FIRM, PLLC
11· ·4131 Spicewood Springs Road
   · · ·Suite O-3
12· ·Austin, Texas 78759
   · · ·Phone:··(512) 334-4302
13· ·
   · ··
14· ·FOR THE DEFENDANT:
   · · · · ··TEXAS DEPARTMENT OF CRIMINAL JUSTICE
15· ·
   · · ·Ms. Cynthia L. Burton
16· ·Mr. Matthew Greer
   · · ·OFFICE OF ATTORNEY GENERAL
17· ·300 W. 15th Street
   · · ·7th Floor
18· ·Austin, Texas 78701
   · · ·Phone:··Phone:··(512) 463-2080
19· ·
   · · · · ··- and -
20· ·
   · · ·Ms. Sharon Felfe Howell
21· ·TEXAS DEPARTMENT OF CRIMINAL JUSTICE - GENERAL COUNSEL
   · · ·209 West 14th Street
22· ·Suite 500
   · · ·Austin, Texas 78711
23· ·Phone: (512) 463-9899
   · ··
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                          Lannette Linthicum - 1/13/2016

 ·1· · · · · · · · · ·A P P E A R A N C E S (cont'd)
   · ··
 ·2· ·
   · · ·FOR UTMB:
 ·3· ·
   · · ·Ms. J. Lee Haney
 ·4· ·Ms. Shanna Molinare
   · · ·Office of Attorney General
 ·5· ·300 W. 15th Street
   · · ·7th Floor
 ·6· ·Austin, Texas 78701
   · · ·Phone:··(512) 463-2080
 ·7· ·
   · · · · ··- and -
 ·8· ·
   · · ·Mr. Graig J. Alvarez
 ·9· ·Ms. Kara Stauffer Philbin
   · · ·FERNELIUS ALVAREZ SIMON, PLLC
10· ·Lyondell Basell Tower
   · · ·1221 McKinney Street
11· ·Suite 3200
   · · ·Houston, Texas 77010
12· ·Phone:··(713) 654-1200
   · ··
13· ·ALSO PRESENT:
   · · · · ··Mr. Kevin Schaeffer, Videographer
14· · · ··Ms. Jennifer Osteen
   · · · · ··Ms. Kamilla L. Stokes
15· · · ··Ms. Ashley Palermo
   · · · · ··Ms. Brian M. Sears
16· · · ··Mr. Daniel C. Neuhoff
   · · · · ··Ms. Heather Rhea
17· · · ··Ms. Lori K. Erwin
   · · · · ··Ms. Glenda Adams
18· · · ··Ms. Ariel Wiley
   · · · · ··Mr. Phillip Boyd
19· · · ··Mr. Derek Kammerlacher
   · · · · ··Dr. Owen Murray
20· · · ··Judge Keith P. Ellison
   · · · · ··Ms. Rebbeca Vogel
21· ·
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     Case 3:19-cv-00001 Document 22-29 Filed on 03/29/19 in TXSD Page 6 of 12
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                          Lannette Linthicum - 1/13/2016

·1· · · · · · · · ··MS. BURTON:··Your Honor, we have some

·2· ·housekeeping issues that with we would like to make for the

·3· ·record.

·4· · · · · · · · ··THE COURT:··All right.··Please go ahead.

·5· · · · · · · · ··MS. BURTON:··Okay.··We're here this morning on

·6· ·all the pending heat cases -- Bailey v. Livingston; Adams, et

·7· ·al; Coldulvey, Livingston, Martone, et al; and Hinojosa, et al.

·8· · · · · · · · ··However, Dr. Linthicum, who is the witness this

·9· ·morning, is here in different capacities.

10· · · · · · · · ··THE COURT:··Okay.

11· · · · · · · · ··MS. BURTON:··She is here as an expert witness in

12· ·the Bailey case.··She is here -- it is our position that she's

13· ·here as a 30(b)(6) witness.··That would be applicable to all

14· ·the cases because the questions have the scope where they

15· ·request information on TDCJ generally.

16· · · · · · · · ··THE COURT:··Okay.

17· · · · · · · · ··MS. BURTON:··She's also here in her individual

18· ·capacity.

19· · · · · · · · ··THE COURT:··Is 30(b)(6) representative for the

20· ·prison system or for the healthcare provider.

21· · · · · · · · ··MS. BURTON:··She is a Texas Department of

22· ·Criminal Justice employee.

23· · · · · · · · ··THE COURT:··All right.

24· · · · · · · · ··MS. BURTON:··And she is the director of TDCJ

25· ·Health Services.··So her answers are with regard to this TDCJ

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                                                                                                        40
                          Lannette Linthicum - 1/13/2016

·1· ·right?··That's one of your jobs to know that, right?

·2· · · ··A.· ·No.

·3· · · ··Q.· ·Why not?

·4· · · ··A.· ·Because the healthcare system is a collaborative

·5· ·partnership between the TDCJ and two state university health

·6· ·sciences' center.··And then on top of that is the

·7· ·legislatively-established committee called the Correctional

·8· ·Managed Healthcare Committee that acts as board over the

·9· ·healthcare system.··The Correctional Managed Healthcare

10· ·Committee is statutorily empowered to have oversight of the

11· ·healthcare systems in TDCJ.

12· · · ··Q.· ·You're on that committee, right?

13· · · ··A.· ·I'm appointed to that committee, I and

14· ·Mr. Livingston, yes.

15· · · ··Q.· ·You're the chairperson of that committee, correct?

16· · · ··A.· ·Not correct.··The chairperson of the committee is

17· ·appointed by the governor of the State of Texas, and that

18· ·person has to be a physician that is not affiliated with either

19· ·the UTMB, Texas Tech, or TDCJ.

20· · · ··Q.· ·Regardless, is it your position that because other

21· ·entities may be involved in the provision of healthcare in the

22· ·prison system, that it's not your responsibility to know the

23· ·numbers of deaths due to hyperthermia inside the prison system?

24· · · ··A.· ·I told you the number of deaths that were verified by

25· ·autopsy findings as the cause of death being hyperthermia.

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                                                                                                       227
                          Lannette Linthicum - 1/13/2016

 ·1· · · · · · · · ·IN THE UNITED STATES DISTRICT COURT
   · · · · · · · · · ·FOR THE SOUTHERN DISTRICT OF TEXAS
 ·2· · · · · · · · · · · · ··HOUSTON DIVISION
   · ··
 ·3· ··STEPHEN McCOLLUM and SANDRA· ··)
   · · ··McCOLLUM, individually, and· ··)
 ·4· ··STEPHANIE KINGREY,· · · · · · ·)
   · · ··individually and independent· ·)
 ·5· ··administrator of the Estate· ··)
   · · ··of LARRY GENE McCOLLUM· · · · ·)
 ·6· · · · · · · · · · ··PLAINTIFFS· ·)· · ··CIVIL ACTION NO.
   · · · · · · · · · · · · · · · · · · ·)· · · · ·4:14-cv-3253
 ·7· ··v.· · · · · · · · · · · · · · ·)· · · · ·JURY DEMAND
   · · · · · · · · · · · · · · · · · · ·)
 ·8· · · · · · · · · · · · · · · · · ·)
   · · ··LANNETTE LINTHICUM, JEFF· · · ·)
 ·9· ··PRINGLE, RICHARD CLARK,· · · ··)
   · · ··KAREN TATE, SANDREA SANDERS,· ·)
10· ··ROBERT FASON, the UNIVERSITY· ·)
   · · ··OF TEXAS MEDICAL BRANCH and· ··)
11· ··the TEXAS DEPARTMENT OF· · · ··)
   · · ··CRIMINAL JUSTICE· · · · · · · ·)
12· · · · · · · · · · ··DEFENDANTS· ·)
   · · ··____________________________· ·)··__________________________
13· ··KEITH COLE, JACKIE BRANNUM,· ··)
   · · ··RICHARD KING, DEAN ANTHONY· · ·)
14· ··MOJICA, RAY WILSON, FRED· · · ·)
   · · ··WALLACE, and MARVIN RAY· · · ··)
15· ··YATES, individually and on· · ·)
   · · ··behalf of those similarly· · ··)
16· ··situated,· · · · · · · · · · ··)
   · · · · · · · · · · · · · · · · · · ·)· · · ·CIVIL ACTION NO.
17· · · · · · · · · ·Plaintiffs,· · ·)· · · · ·4:14-cv-1698
   · · · · · · · · · · · · · · · · · · ·)
18· ··v.· · · · · · · · · · · · · · ·)
   · · · · · · · · · · · · · · · · · · ·)
19· ··LANNETTE LINTHICUM, in his· · ·)
   · · ··official capacity, ROBERTO· · ·)
20· ··HERRERA, in his official· · · ·)
   · · ··capacity, and TEXAS· · · · · ··)
21· ··DEPARTMENT OF CRIMINAL· · · · ·)
   · · ··JUSTICE,· · · · · · · · · · · ·)
22· · · · · · · · · ·Defendants.· · ·)
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                          Lannette Linthicum - 1/13/2016

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   · ··
 ·3· · · · · · · · · · ··REPORTER'S CERTIFICATION
   · · · · · · · · · ··DEPOSITION OF LANNETTE LINTHICUM
 ·4· · · · · · · · · · · · ··January 13, 2016
   · · · · · · · · · · · · · · · ··VOLUME 1
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 ·6· ··*··*··*··*··*··*··*··*··*··*··*··*··*··*··*··*··*··*··*··*··*
   · ··
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   · ··
 ·8· · · · · · ··I, ABIGAIL L. GUERRA, Certified Shorthand Reporter,
   · ··
 ·9· ·in and for the State of Texas, hereby certify to the following:
   · ··
10· · · · · · ··That the witness, LANNETTE LINTHICUM, was duly sworn
   · ··
11· ·by the officer and that the transcript of the oral deposition
   · ··
12· ·is a true record of the testimony given by the witness;
   · ··
13· · · · · · ··I further certify that pursuant to Federal Rules of
   · ··
14· ·Civil Procedure (30)(e)(1)(A) and (B) as well as Rule
   · ··
15· ·(30)(e)(2) that the signature of the deponent:
   · ··
16· · · · · · ··I further certify that pursuant to FRCP Rule
   · ··
17· ·30(f)(1) that the signature of the deponent:
   · ··
18· ·
   · ··
19· · · · · · ··_X__ was requested by the deponent or a party before
   · ··
20· ·the completion of the deposition and that signature is to be
   · ··
21· ·before any notary public and returned within 30 days from date
   · ··
22· ·of receipt of the transcript.
   · ··
23· · · ··If returned, the attached Changes and Signature Page
   · ··
24· ·contains any changes and the reasons therefore:
   · ··
25· ·

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    Case 3:19-cv-00001 Document 22-29 Filed on 03/29/19 in TXSD Page 10 of 12
                                                                                                       229
                          Lannette Linthicum - 1/13/2016

 ·1· · · · · · ··____ was not requested by the deponent or a party
   · ··
 ·2· ·before the completion of the deposition.
   · ··
 ·3· ·
   · ··
 ·4· · · · · · ··That $____________________ is the deposition
   · ··
 ·5· ·officer's charges for preparing the original deposition
   · ··
 ·6· ·transcript and any copies of exhibits, charged to STEPHEN
   · ··
 ·7· ·McCOLLUM and SANDRA McCOLLUM, individually, and STEPHANIE
   · ··
 ·8· ·KINGREY, individually and independent administrator of the
   · ··
 ·9· ·Estate of LARRY GENE McCOLLUM, individually and on behalf of
   · ··
10· ·those similarly situated;
   · ··
11· ·
   · ··
12· · · · · · ··That pursuant to information given to the deposition
   · ··
13· ·officer at the time said testimony was taken, the following
   · ··
14· ·includes all parties of record:
   · ··
15· ·FOR THE PLAINTIFFS:
   · · · · ··STEPHEN McCOLLUM and SANDRA McCOLLUM, individually, and
16· ·STEPHANIE KINGREY, individually and independent administrator
   · · ·of the Estate of LARRY GENE McCOLLUM
17· ·
   · · ·Mr. Jeff Edwards
18· ·Mr. Scott Medlock
   · · ·EDWARDS LAW
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   · · ·Austin, Texas 78702
20· ·Phone:··(512) 623-7727
   · ··
21· · · ··- and -
   · ··
22· ·Mr. Michael Singley
   · · ·Mr. David James
23· ·THE SINGLEY LAW FIRM, PLLC
   · · ·4131 Spicewood Springs Road
24· ·Suite O-3
   · · ·Austin, Texas 78759
25· ·Phone:··(512) 334-4302

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    Case 3:19-cv-00001 Document 22-29 Filed on 03/29/19 in TXSD Page 11 of 12
                                                                                                       230
                          Lannette Linthicum - 1/13/2016

 ·1· ·
   · · ·FOR THE DEFENDANT:
 ·2· · · ··TEXAS DEPARTMENT OF CRIMINAL JUSTICE
   · ··
 ·3· ·Ms. Cynthia L. Burton
   · · ·Mr. Matthew Greer
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 ·5· ·7th Floor
   · · ·Austin, Texas 78701
 ·6· ·Phone:··Phone:··(512) 463-2080
   · ··
 ·7· · · ··- and -
   · ··
 ·8· ·Ms. Sharon Felfe Howell
   · · ·TEXAS DEPARTMENT OF CRIMINAL JUSTICE - GENERAL COUNSEL
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   · · ·Suite 500
10· ·Austin, Texas 78711
   · · ·Phone: (512) 463-9899
11· ·
   · ··
12· ·FOR THE WITNESS:
   · · · · ··UTMB
13· ·
   · · ·Ms. J. Lee Haney
14· ·Ms. Shanna Molinare
   · · ·Office of Attorney General
15· ·300 W. 15th Street
   · · ·7th Floor
16· ·Austin, Texas 78701
   · · ·Phone:··(512) 463-2080
17· ·
   · · · · ··- and -
18· ·
   · · ·Mr. Graig J. Alvarez
19· ·Ms. Kara Stauffer Philbin
   · · ·FERNELIUS ALVAREZ SIMON, PLLC
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22· ·Phone:··(713) 654-1200
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                                                                                                       231
                          Lannette Linthicum - 1/13/2016

 ·1· ·
   · ··
 ·2· · · · · · ··I further certify that I am neither attorney, nor
   · ··
 ·3· ·counsel for, nor related to, nor employed by any of the parties
   · ··
 ·4· ·or attorneys to the action in which this deposition was taken;
   · ··
 ·5· · · · · · ··Further, I am not a relative, nor an employee of any
   · ··
 ·6· ·attorney of record in this cause, nor am I financially or
   · ··
 ·7· ·otherwise interested in the outcome of the action.
   · ··
 ·8· · · · · · ··Certified to by me this 28th day of January, 2016.
   · ··
 ·9· ·
   · ··
10· ·
   · ··
11· ·
   · ··
12· ·
   · ··
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